                  IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                          Civil Action No. 3:15-cv-369

 GREGORY TODD PAINTER, JR.,

                      Plaintiff,
 vs.                                                STIPULATION OF DISMISSAL

 JONATHAN ADAMS, et al.

                      Defendants.

        COME NOW THE PARTIES, through counsel, and hereby enter this stipulation

of dismissal of all claims herein, with prejudice, pursuant to Fed.R.Civ.P. 41(a)(1)(ii).

        AGREED by and between:

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